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                                             ORDERED.


      Dated: October 08, 2019




                               UNITED STATES BANKRUPTCY COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION
                                       www.flmb.uscourts.gov

In re :                                                            Case Number 6:19-bk-01945-KSJ
                                                                   Chapter 7

Steven Herman Allen and
Blessy Allen,
                             Debtor(s).
______________________________________/

                  ORDER AUTHORIZING RETENTION OF BK GLOBAL REAL
                 ESTATE SERVICES AND HUGO W. MEZA AS LISTING AGENT

          THIS CASE came on for consideration without hearing on the Trustee’s (I) Application to Retain
BK Global Real Estate Services to Procure Consented Private Sale Pursuant to 11 U.S.C. §§ 327, 328, and
330, and (II) Application to Retain Hugo W. Meza of Nicholas Real Estate II as Listing Agent and to
Procure Consented Private Sale Pursuant to 11 U.S.C. §§ 327, 328, and 330, (docket no. 29) filed October
4, 2019. Based upon the facts set forth in the application and declarations by BK Global Real Estate Services
and the Listing Agent, the Court concludes that BK Global Real Estate Services and the Listing Agent do
not hold or represent an interest adverse to the estate and are disinterested persons within the meaning of §
101(14) of the Bankruptcy Code. The Court further concludes that BK Global Real Estate Services and the
Listing Agent are qualified to represent the Trustee and that the Court’s authorization of their employment
is in the best interest of the estate. Accordingly, it is
          ORDERED the Application is granted and the Court approves the retention of BK Global Real
Estate Services and Hugo W. Meza of Nicholas Real Estate II to sell real property located at 62 Burnt
Meadow Rd., Ringwood, NJ 07456. BK Global Real Estate Services (“BKRES”) and Listing Agent shall
be compensated in accordance with the BKRES Declaration and Listing Agreement, respectively, and such
compensation shall be subject to the provisions of § 330 of the Bankruptcy Code. Upon a sale of property
to a third party, BKRES and Listing Agent shall receive a 6% commission, paid by Secured Creditor. In

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the alternative, if the property is transferred to Secured Creditor, BKRES shall receive a 2% commission,
paid by Secured Creditor, $500.00 of which shall be paid to Listing Agent. Secured Creditor’s proposed
compensation of BKRES and Listing Agent shall be disclosed in any Motion for Order approving sale of
Property. BK Global Real Estate Services and Listing Agent shall be authorized to receive and retain their
fees from Secured Creditor at the successful closing of the sale of the Property, in accordance with the
Order approving sale. The estate shall, in no circumstance, be obligated to compensate BKRES or Listing
Agent. BKRES and Listing Agent shall not have a claim against the estate for any unpaid amounts. BKRES
and Listing Agent, and anyone claiming by, through or under either of them, shall only have recourse for
recovering fees from Secured Creditor. The estate shall have no liability for any such claims. BKRES and
Listing Agent shall not be awarded any compensation at an hourly rate. Compensation will be determined
later in accordance with 11 U.S.C. § 330. The hourly rate is not guaranteed and is subject to review.

Special Counsel Kristen L. Henkel is directed to serve a copy of this Order on interested parties who do
not receive service by CM/ECF and file a proof of services within 3 days of entry of the Order.




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